                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

CRAIG CUNNINGHAM                                       )
                                                       )
v.                                                     )       Case No. 3:15-0847
                                                       )
ENAGIC USA, INC.                                       )


To: Honorable David M. Lawson, District Judge

                             REPORT AND RECOMMENDATION

        By order entered on October 11, 2018 (Docket No. 291), matters relating to Defendant Susie

Tremblay-Brown’s motion to set aside default judgment (Docket No. 284) were referred to the

undersigned. On February 14, 2019, a report and recommendation for resolution of Defendant

Tremblay-Brown’s motion was issued, which recommended, in part, that the default judgment against

Defendant Tremblay-Brown be set aside and that Plaintiff be required to serve Defendant Tremblay-

Brown with process. (Docket No. 292.) The report and recommendation was subsequently adopted

by order entered on March 4, 2019 (Docket No. 293), and Plaintiff was ordered to serve Defendant

Tremblay-Brown with the third amended complaint and a summons by no later than April 3, 2019.

Upon Plaintiff’s failure to demonstrate that Defendant Tremblay-Brown was served with process as

ordered, a show cause order was issued on September 10, 2019 (Docket No. 301) ordering Plaintiff to

show cause by no later than September 30, 2019 why Defendant Tremblay-Brown should not be

dismissed from this case. Plaintiff failed to respond to the show cause order within the time directed.

        It is therefore respectfully RECOMMENDED that Defendant Susie Tremblay-Brown be

DISMISSED from this action with prejudice.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of service of this Report and Recommendation and must state with

particularity the specific portions of this Report and Recommendation to which objection is made.



     Case 3:15-cv-00847 Document 306 Filed 01/03/20 Page 1 of 2 PageID #: 1643
See Fed. R. Civ. P. 72(b)(2) and Local Rule 72.02(a). Failure to file written objections within the

specified time can be deemed a waiver of the right to appeal the District Court's Order regarding

the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140, 106 S.Ct. 466, 88 L.Ed.2d

435 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Any response to objections

must be filed within fourteen (14) days of service of the objections. See Fed. R. Civ. P. 72(b)(2)

and Local Rule 72.02(b).

                                             Respectfully submitted,



                                             ______________________________________
                                             BARBARA D. HOLMES
                                             United States Magistrate Judge




                                                2

  Case 3:15-cv-00847 Document 306 Filed 01/03/20 Page 2 of 2 PageID #: 1644
